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IN THE UNITED sTATEs DISTRICT COURT nwme
FOR THE wEsTERN DISTRICT oF TENNESSEE
wESTERN DIVISION 05 JUL 18 PH 3' 55
UNITED sTATEs oF AME:RICA, x %S§§§§qpqmg
Plaintiff, X
X
vs. X Cr. No. 91-20047(Tu)Ml
X
JOSEPHINE LEDEZMA, X
X
Defendant. X
X

 

ORDER DENYING IRREGULAR MOTION

 

On June 28, 2005, defendant, Josephine Ledezma, Bureau of
Prisons registration number 94938-076, an inmate at the Federal
Correctional Institution at Dublin, California (FCI), filed an
application for leave to file a second or successive motion to
vacate her sentence under 28 U.S.C. § 2255 with the Sixth Circuit
Court of Appeals. gee In re: Josephine Ledezma, No. 05-6029.
Ledezma was convicted of one count of conspiracy to possess 1,600
kilograms of cocaine with intent to distribute, in violation of 21
U.S.C. § 84l(a)(l) and § 846; and one count of aiding and abetting
in the jpossession. of 351 kilograms of cocaine with intent to
distribute, in violation of 21 U.S.C. § 84l(a)(l) and 18 U.S.C. §
2.1

Ledezma mailed a complimentary copy of the application to

Clerk of this Court which was received on June 27, 2005. As the

 

1 United States of America v. Ledezma, No. 92-6683, 26 F.3d 636 (Gth
Cir. June lO, 1994), rehearing denied, (Aug. 1, 1994)

Thls document entered on the docket sheet In co;p|iance
with Hu|a 55 and!or 32(b) FRCrP on

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application had not yet been received or docketed by the Sixth
Circuit, the Clerk docketed the application in this criminal case.

Ordinarily, this Court would direct the clerk to remove the
application from the criminal case and transfer it to the United
States Court of Appeals for the Sixth Circuit. In this case,
however, transfer would be futile. Ledezma has already submitted
this document to the Sixth Circuit and it is already considering
Ledezma's request forl permission to file a successive § 2255
motion.

This Court has no authority to consider a challenge to
Ledezma's conviction or sentence until she obtains permission from
the Court of Appeals for this circuit. 28 U.S.C. §§ 2244(B)(3),
2255. Accordingly, the irregular motion is DENIED.

It is, therefore, CERTIFIED, pursuant to Fed. R. App. 24(a)
that any appeal in this matter by defendant, proceeding in ;g;mg

pauperis, is not taken in good faith.

IT IS SO ORDERED this iii day Of July, 2005.

mme

JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

 

n.--A

DISTRICT COURT - WESTE DI's'TRICT oF ENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 271 in
case 2:9]-CR-20047 Was distributed by faX, mail, or direct printing on
July ]9, 2005 to the parties listed.

 

Josephine Ledezma
FCI-DUBLIN
94938-076

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Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
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Honorable J on McCalla
US DISTRICT COURT

